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      EXHIBIT 3
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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF HAWAII

ELIJAH PINALES, et al.,                       :   Civil No. 24-00496 JAO-WRP
                                              :
       Plaintiffs,                            :
                                              :   DECLARATION OF
              v.                              :   LOUIS KLAREVAS
                                              :
ANNE E. LOPEZ, IN HER OFFICIAL                :
CAPACITY AS THE ATTORNEY                      :
GENERAL OF THE STATE OF                       :
HAWAI‘I,                                      :
                                              :
       Defendant.                             :
                                              :
                                              :




                     DECLARATION OF LOUIS KLAREVAS




Pursuant to 28 U.S.C. § 1746, I, Louis Klarevas, declare and state as follows:
      1.     I have been asked to render an opinion by the Office of the Attorney
General of the State of Hawaii on the relationship between mass shooting violence
and shooter age.
      2.     This declaration is based on my own personal knowledge, research, and
experience, and if I am called to testify as a witness, I could and would testify
competently to the truth of the matters discussed in this declaration.
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                      PROFESSIONAL QUALIFICATIONS
      3.      I am a security policy analyst and, currently, Research Professor at
Teachers College, Columbia University, in New York. I am also the author of the
book Rampage Nation, one of the most comprehensive studies on gun massacres in
the United States. 1 I am a political scientist by training, with a B.A. from the
University of Pennsylvania and a Ph.D. from American University. My current
research examines the nexus between American public safety and gun violence,
including serving as an investigator in a study funded by the National Institutes of
Health that is focused on reducing intentional shootings at K-12 schools.
      4.      During the course of my 25-year career as an academic, I have served
on the faculties of George Washington University, the City University of New York,
New York University, and the University of Massachusetts. I have also served as
Defense Analysis Research Fellow at the London School of Economics and Political
Science and as United States Senior Fulbright Scholar in Security Studies at the
University of Macedonia. In addition to having made well over 100 media and
public-speaking appearances, I am the author or co-author of more than 25 scholarly
publications and over 70 commentary pieces. My latest article addresses the
relationship between gun control policies and firearm harm in the United States.2
      5.      In the past five years, I have been called on to serve as an expert on the
relationship between firearm harm and gun policy in various legal proceedings at the
federal and state levels.
      6.      A true and correct copy of my current curriculum vitae is attached as
Exhibit A to this declaration.


      1
          Louis Klarevas, Rampage Nation: Securing America from Mass Shootings
(2016).
      2
       Louis Klarevas, “More Gun Regulation, Less Firearm Harm,” 386 British
Medical Journal (BMJ) q1984 (September 13, 2024).


                                           2
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                                    OPINIONS
      7.     It is my professional opinion, based on my review and analysis of mass
shooting data, that (1) double-digit-fatality mass shootings are post-World War II
phenomena; (2) mass public shootings pose a substantial and growing threat to
public safety; (3) as a percentage of the U.S. population, 18-20 year-olds are over-
represented in perpetrating mass public shooting violence; and (4) 18-20-year old
mass public shooters tend to use guns that are legally owned by the shooters or their
family members and acquaintances.3 Based on these findings, it is my opinion that
firearm purchasing restrictions on individuals between the ages of 18 to 20 have the
potential to reduce mass shooting violence.




      3
         For purposes of the declaration, mass public shootings are defined in a
manner consistent with the definition employed by The Violence Project, which is a
violence analysis center that maintains a mass shooter database funded, in part, by
the National Institute of Justice. According to The Violence Project, a mass public
shooting is defined as “a multiple homicide incident in which four or more victims
are murdered with firearms—not including the offender(s)—within one event, and
at least some of the murders occurred in a public location or locations in close
geographical proximity (e.g., a workplace, school, restaurant, or other public
settings), and the murders are not attributable to any other underlying criminal
activity or commonplace circumstance (armed robbery, criminal competition,
insurance fraud, argument, or romantic triangle).” Generally, mass public shootings
occur within a 24-hour time period. For a more detailed discussion of how mass
public shootings are defined, see, The Violence Project, “Methodology,”
https://www.theviolenceproject.org/methodology.


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I.      Double-Digit-Fatality    Mass     Shootings    Are    Post-World      War      II
        Phenomena

        8.    An examination of the historical occurrence and distribution of mass
shootings resulting in 10 or more victims killed in the United States since 1776
(Table 1) uncovered several informative findings.4 In terms of the origins of this
form of extreme gun violence, there is no known occurrence of a mass shooting
resulting in double-digit fatalities at any point in time during the 173-year period
between the nation’s founding in 1776 and 1948. The first known mass shooting
resulting in 10 or more deaths occurred in 1949. In other words, for 70% of its 247-
year existence as a nation, the United States did not experience a mass shooting
resulting in double-digit fatalities, making such acts of gun violence relatively
modern phenomena in American history.5
        9.    After the first such incident in 1949, 17 years passed until a similar
mass shooting occurred in 1966. The third such mass shooting then occurred 9 years
later, in 1975. And the fourth such incident occurred 7 years after, in 1982. Basically,
the first few mass shootings resulting in 10 or more deaths did not occur until the
post-World War II era. Furthermore, these first few double-digit-fatality incidents
occurred with relative infrequency, although the temporal gap between these first
four incidents shrank with each event (Table 1).


        4
         I searched for firearm-related “murders,” using variations of the term, setting
a minimum fatality threshold of 10 in the Newspaper Archive online newspaper
repository, https://www.newspaperarchive.com. The Newspaper Archive contains
local and major metropolitan newspapers dating back to 1607. Incidents of large-
scale, inter-group violence such as mob violence, rioting, combat or battle
skirmishes, and attacks initiated by authorities acting in their official capacity were
excluded.
       5
         Using the Constitution’s effective date of 1789 as the starting point would
lead to the conclusion that, for 68% of its 234-year existence as a nation, the United
States did not experience a mass shooting resulting in double-digit fatalities.


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      10.    The distribution of double-digit-fatality mass shootings changed in the
early 1980s, when five such events took place in a span of just five years (Table 1).
But this cluster of incidents was followed by a 20-year period in which only 2
double-digit-fatality mass shootings occurred. This period of time from 1987-2007
correlates with three important federal firearms measures: the 1986 Firearm Owners
Protection Act, the 1989 Code of Federal Regulations “sporting use” importation
restrictions, and the 1994 Federal Assault Weapons Ban.
      11.    It is well-documented in the academic literature that, after the Federal
Assault Weapons Ban expired in 2004, mass shooting violence increased
substantially.6 Mass shootings that resulted in 10 or more deaths were no exception,
following the same pattern. In the 56 years from 1949 through 2004, there were a
total of 10 mass shootings resulting in double-digit fatalities (a frequency rate of one
incident every 5.6 years). In the 20 years since 2004, there have been 22 double-
digit-fatality mass shootings (a frequency rate of one incident every 0.9 years). In
other words, the frequency rate has increased over six-fold since the Federal Assault
Weapons Ban expired (Table 1).




      6
        See, for example, Klarevas, supra note 1; Louis Klarevas et al., “The Effect
of Large-Capacity Magazine Bans on High-Fatality Mass Shootings,” 109 American
Journal of Public Health 1754 (2019; Charles DiMaggio et al., “Changes in US
Mass Shooting Deaths Associated with the 1994-2004 Federal Assault Weapons
Ban: Analysis of Open-Source Data,” 86 Journal of Trauma and Acute Care Surgery
11 (2019); Lori Post et al., “Impact of Firearm Surveillance on Gun Control Policy:
Regression Discontinuity Analysis,” 7 JMIR Public Health and Surveillance (2021);
Philip J. Cook and John J. Donohue, “Regulating Assault Weapons and Large-
Capacity Magazines for Ammunition,” 328 JAMA, September 27, 2022; and John
J. Donohue, “The Effect of Permissive Gun Laws on Crime,” 704 ANNALS of the
American Academy of Political and Social Science 92 (2022).


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 Table 1. Mass Shootings Resulting in Double-Digit Fatalities in U.S. History,
                                 1776-2024
                                                               Involved
                                                              18-20-Year-
                    Date           Location          Deaths   Old Shooter
             1     9/6/1949      Camden, NE            13          N
             2     8/1/1966       Austin, TX           14          N
             3    3/30/1975     Hamilton, OH           11          N
             4    9/25/1982   Wilkes-Barre, PA         13          N
             5    2/18/1983      Seattle, WA           13          Y
             6    4/15/1984     Brooklyn, NY           10          N
             7    7/18/1984    San Ysidro, CA          21          N
             8    8/20/1986      Edmond, OK            14          N
             9   10/16/1991      Killeen, TX           23          N
            10    4/20/1999      Littleton, CO         13          Y
            11    4/16/2007    Blacksburg, VA          32          N
            12    3/10/2009  Geneva County, AL         10          N
            13     4/3/2009    Binghamton, NY          13          N
            14    11/5/2009     Fort Hood, TX          13          N
            15    7/20/2012       Aurora, CO           12          N
            16   12/14/2012     Newtown, CT            27          Y
            17    9/16/2013    Washington, DC          12          N
            18    12/2/2015  San Bernardino, CA        14          N
            19    6/12/2016      Orlando, FL           49          N
            20    10/1/2017     Las Vegas, NV          60          N
            21    11/5/2017 Sutherland Springs, TX     25          N
            22    2/14/2018      Parkland, FL          17          Y
            23    5/18/2018      Santa Fe, TX          10          N
            24   10/27/2018     Pittsburgh, PA         11          N
            25    11/7/2018  Thousand Oaks, CA         12          N
            26    5/31/2019  Virginia Beach, VA        12          N
            27     8/3/2019      El Paso, TX           23          N
            28    3/22/2021      Boulder, CO           10          N
            29    5/14/2022      Buffalo, NY           10          Y
            30    5/24/2022       Uvalde, TX           21          Y
            31    1/21/2023  Monterey Park, CA         11          N
            32   10/25/2023     Lewiston, ME           18          N

Note: Death tolls do not include the perpetrators. At the time that this declaration is
being executed (December 23, 2024), there are still eight days left in 2024. However,
through December 23, 2024, there have not been any double-digit-fatality mass
shootings in the United States in the current calendar year.


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      12.    Of particular relevance to the present case, 6 out of the 32 double-digit-
fatality mass shootings in American history were perpetrated by a shooter who was
18-20-years-old at the time of the attack. In other words, while historically
accounting for approximately 4% of the post-World War II population in the United
States, 18-20-year-olds have been involved in perpetrating 19% of the mass
shootings resulting in 10 or more deaths—a nearly five-fold over-representation
(Table 1). 7 Similarly, the double-digit-fatality mass shootings that involved
perpetrators between the ages of 18 and 20 account for 18% of all deaths resulting
from such extreme acts of gun violence (101 out of 567 total deaths)—again a nearly
five-fold over-representation given that this age group has only represented
approximately 4% of the population of the United States in the post-World War II
era (Table 1). This indicates that this age group is particularly capable of inflicting
mass-casualty carnage with firearms.




      7
         According to census data from 1950, 1960, 1970, 1980, 1990, 2000, 2010,
and 2020, 18-20-year-olds accounted for a mean average of 4.3% of the U.S.
population in the post-World War II (up to the present era). Single-year-of-age
population data is published by the U.S. Census Bureau every decade,
https://www.census.gov/library/publications.html.


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II.   Mass Public Shootings Pose a Substantial and Growing Threat to Public
      Safety

      13.    Examining mass-casualty acts of violence in the United States in the
last 40 years points to two disturbing patterns.8 First, as demonstrated in Table 2, the
deadliest individual acts of intentional criminal violence in the United States since
the coordinated terrorist attack of September 11, 2001, have all been mass shootings.
Second, as displayed in Figures 1-2, the problem of mass public shooting violence
is on the rise. To put the increase since 1985 into perspective, in the last 40 years,
the average population of the United States increased approximately 33%. 9
However, when the number of people killed in mass public shootings from 1985-
1994 is compared to the number killed in such incidents from 2015-2024, it reflects
an increase of 243%. In other words, the rise in mass public shootings has far
outpaced the rise in national population—by a factor greater than 7. The obvious
takeaway from these patterns and trends is that mass public shootings pose a
substantial—and growing—threat to American public safety.




      8
         The analysis of mass public shootings in this report covers the last 40
calendar years (1985-2024), drawing on data that is publicly available from The
Violence Project, which has been funded, in part, by the National Institute of Justice.
The Violence Project data set on mass public shootings is accessible from the
organization’s website, https://www.theviolenceproject.org/databases. One incident
included in the data set that resulted in three victims shot to death (the 2014 Isla
Vista, California, rampage) is excluded from this report’s analysis because it does
not meet the fatality threshold of a mass public shooting, which is four or more
victims shot to death.
       9
         The increase was calculated using the total annual populations from 1985-
1994 and comparing it to the total annual populations from 2015-2024. The increase
between these two ten-year time periods is 32.7%. Annual population estimates are
from      the    U.S.    Census      Bureau,      https://www.census.gov/programs-
surveys/popest/data/data-sets.html.


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Table 2. The Deadliest Acts of Intentional Criminal Violence in the U.S. since
          the Coordinated Terrorist Attack of September 11, 2001

       Deaths               Date                                         Location                              Type of Violence
 1       60            October 1, 2017                                Las Vegas, NV                             Mass Shooting
 2       49             June 12, 2016                                  Orlando, FL                              Mass Shooting
 3       32             April 16, 2007                               Blacksburg, VA                             Mass Shooting
 4       27           December 14, 2012                               Newtown, CT                               Mass Shooting
 5       25           November 5, 2017                            Sutherland Springs, TX                        Mass Shooting
 6       23            August 3, 2019                                  El Paso, TX                              Mass Shooting
 7       21             May 24, 2022                                   Uvalde, TX                               Mass Shooting


     Figure 1. Annual Number of Mass Public Shooting Incidents, 1985-2024

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                8
                7
                6
                5
                4
                3
                2
                1
                0
                85
                87
                          89
                          91
                                    93
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      Figure 2. Annual Number of Mass Public Shooting Deaths, 1985-2024

            120

            100

                80

                60

                40

                20

                 0
                       85
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III.   As a Percentage of the U.S. Population, 18-20-Year-Olds Are Over-
       Represented in Perpetrating Mass Public Shooting Violence

       14.   As noted above in Section I, the 18-20 age demographic only accounts
for about 4% of the U.S. population. However, it accounts for a far larger percentage
of double-digit-fatality mass shooting incidents and deaths. A similar pattern holds
for mass public shootings perpetrated in the United States in the last 40 years. As
shown in Tables 3 and 4 below, in contrast to the comparator groups of 11-17-year-
old mass public shooters as well as 21-72-year-old mass public shooters, 18-20-year-
old mass public shooters are substantially over-represented, and noticeably more so
than older mass public shooters, who are also over-represented.10 (In contrast, 11-
17-year-olds are under-represented.) This pattern holds whether the metric is the
share of mass public shootings that they commit or the share of mass public shooting
deaths attributable to their attacks. The share of 18-20-year-old mass public shooters
reflects a 107% increase over the share of the population for that age demographic.
Similarly, the share of deaths attributable to 18-20-year-old mass public shooters
reflects a 160% increase over the share of the population for that age demographic.
Furthermore, the average death toll per mass public shooting for attacks perpetrated
by 18-20-year-olds (8.9 deaths on average) reflects a 71% increase over the average
death toll per incident associated with 11-17-year-olds (5.2 deaths on average) and
a 27% increase over the average death toll per incident associated with 21-72-year-
olds (7.0 deaths on average).11



       10
          The age parameters for the two comparator groups were determined by the
youngest and oldest mass public shooter in The Violence Project data set (1985-
2024), respectively, 11 and 72 years of age.
       11
          The average death toll per mass public shooting for attacks perpetrated by
21-72-year-olds (7.0 deaths on average) reflects a 35% increase over the average
death toll per incident associated with 11-17-year-olds (5.2 deaths on average).


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       15.    These patterns clearly demonstrate that age is an important factor in
terms of the incidence and lethality of mass public shootings.12

              Table 3. Mass Public Shooters by Age Group, 1985-2024

                        Table 3a. Mass Public Shooters Aged 11-17
       Year   Month   Day         State                     City           Deaths       Age of Shooter
   1   1998       3    24   Arkansas         Jonesboro                         2.5                  11
   2   1998       3    24   Arkansas         Jonesboro                         2.5                  13
   3   2024       9     4   Georgia          Winder                              4                  14
   4   1998       5    20   Oregon           Springfield                         4                  15
   5   2014      10    24   Washington       Marysville                          4                  15
   6   2021      11    30   Michigan         Oxford                              4                  15
   7   2022      10    13   North Carolina   Raleigh                             5                  15
   8   2005       3    21   Minnesota        Red Lake                            9                  16
   9   1999       4    20   Colorado         Littleton                         6.5                  17
  10   2018       5    18   Texas            Santa Fe                           10                  17
                                             Total Deaths                       51.5
                                             Average Deaths Per Incident         5.2

                       Table 3b. Mass Public Shooters Aged 18-20
       Year   Month   Day         State                   City             Deaths        Age of Shooter
   1   1994      12    31   North Carolina   Raeford                             5                    18
   2   1999       4    20   Colorado         Littleton                         6.5                    18
   3   2007       2    12   Utah             Salt Lake City                      5                    18
   4   2022       5    14   New York         Buffalo                            10                    18
   5   2022       5    24   Texas            Uvalde                             21                    18
   6   1993      10    14   California       El Cajon                            4                    19
   7   1993      12    14   Colorado         Aurora                              4                    19
   8   2007      12     5   Nebraska         Omaha                               8                    19
   9   2018       2    14   Florida          Parkland                           17                    19
  10   2021       4    15   Indiana          Indianapolis                        8                    19
  11   1992       5     1   California       Olivehurst                          4                    20
  12   1994       6    20   Washington       Fairchild Air Force Base            4                    20
  13   2001       9     8   California       Sacramento                          5                    20
  14   2012      12    14   Connecticut      Newtown                            27                    20
  15   2016       9    23   Washington       Burlington                          5                    20
                                             Total Deaths                       133.5
                                             Average Deaths Per Incident          8.9


       12
        It also worth noting that, of the 15 mass public shootings identified by the
Violence Project as having occurred at elementary and secondary schools in the
United States between 1985 and 2024, five of these incidents involved perpetrators
between the ages of 18 and 20. In other words, 33% of all mass public shootings at
K-12 schools were perpetrated by an age demographic that makes up approximately
4% of the entire U.S. population—a difference greater than 8-fold.


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                      Table 3c. Mass Public Shooters Aged 21-72
     Year   Month   Day            State                 City         Deaths   Age of Shooter
 1   2004       7     2   Kansas             Kansas City                   5               21
 2   2015       6    17   South Carolina     Charleston                    9               21
 3   2019       1    23   Florida            Sebring                       5               21
 4   2019       8     3   Texas              El Paso                      23               21
 5   2021       3    16   Georgia            Atlanta                       8               21
 6   2021       3    22   Colorado           Boulder                      10               21
 7   2022       7     4   Illinois           Highland Park                 7               21
 8   1993       8     6   North Carolina     Fayetteville                  4               22
 9   1995      12    19   New York           Bronx                         5               22
10   1999       3    10   Louisiana          Gonzales                      4               22
11   2011       1     8   Arizona            Tucson                        6               22
12   2022      11    19   Colorado           Colorado Springs              5               22
13   1999       6     3   Nevada             Las Vegas                     4               23
14   2003       2    25   Alabama            Huntsville                    4               23
15   2007       4    16   Virginia           Blacksburg                   32               23
16   2013       6     7   California         Santa Monica                  5               23
17   2019      10     6   Kansas             Kansas City                   2               23
18   1988       7    17   North Carolina     Winston-Salem                 4               24
19   1989       1    17   California         Stockton                      5               24
20   2007      12     9   Colorado           Arvada                        4               24
21   2012       7    20   Colorado           Aurora                       12               24
22   2015       7    16   Tennessee          Chattanooga                   5               24
23   2019       8     4   Ohio               Dayton                        9               24
24   2004      12     8   Ohio               Columbus                      4               25
25   2006       5    21   Louisiana          Baton Rouge                   5               25
26   2008       6    25   Kentucky           Henderson                     5               25
27   2016       7     7   Texas              Dallas                        5               25
28   2023       4    10   Kentucky           Louisville                    5               25
29   1992       3    15   Arizona            Phoenix                       4               26
30   2015      10     1   Oregon             Roseburg                      9               26
31   2017       1     6   Florida            Fort Lauderdale               5               26
32   2017      11     5   Texas              Sutherland Springs           25               26
33   2008       2    14   Illinois           DeKalb                        5               27
34   2013       4    21   Washington         Federal Way                   4               27
35   2017       2     6   Mississippi        Yazoo City                    4               27
36   2018       2    26   Michigan           Detroit                       4               27
37   1991      11     1   Iowa               Iowa City                     5               28
38   1995       4     3   Texas              Corpus Christi                5               28
39   2000       3    20   Texas              Irving                        5               28
40   2006       3    24   Washington         Seattle                       6               28
41   2008       9     2   Washington         Alger                         6               28
42   2010       4     3   California         North Hollywood               4               28
43   2015      12     2   California         San Bernardino                7               28
44   2018       1    28   Pennsylvania       Melcroft                      4               28
45   2018      11     7   California         Thousand Oaks                12               28
46   2023       3    27   Tennessee          Nashville                     6               28
47   2009      11     1   North Carolina     Mount Airy                    4               29
48   2015      12     2   California         San Bernardino                7               29
49   2016       6    12   Florida            Orlando                      49               29
50   2018       4    22   Tennessee          Antioch                       4               29
51   2019      10     6   Kansas             Kansas City                   2               29
52   2024       9     2   Illinois           Floral Park                   4               30
53   1991      11    14   Michigan           Royal Oak                     4               31



                                            12
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      Year   Month   Day            State                      City         Deaths   Age of Shooter
 54   2008       3    18   California              Santa Maria                   4               31
 55   2020       3    15   Missouri                Springfield                   4               31
 56   2022      11    22   Virginia                Chesapeake                    6               31
 57   1996       4    24   Mississippi             Jackson                       5               32
 58   2006      10     2   Pennsylvania            Nickel Mines                  5               32
 59   2011       9     6   Nevada                  Carson City                   4               32
 60   2021       1     9   Illinois                Chicago                       5               32
 61   1993      12     2   California              Oxnard                        4               33
 62   2005       3    11   Georgia                 Atlanta                       4               33
 63   2015      11    14   Texas                   Tennessee                     5               33
 64   2023       5     6   Texas                   Allen                         8               33
 65   2000       4    28   Pennsylvania            Pittsburgh                    5               34
 66   2010       8     3   Connecticut             Manchester                    8               34
 67   2013       9    16   District of Columbia    Washington                   12               34
 68   1991      10    10   New Jersey              Ridgewood                     4               35
 69   1991      10    16   Texas                   Killeen                      23               35
 70   1993      12     7   New York                Garden City                   6               35
 71   1998       3     7   Connecticut             Newington                     4               35
 72   1999      12    30   Florida                 Tampa                         5               36
 73   2003       8    27   Illinois                Chicago                       6               36
 74   2004      11    21   Wisconsin               Birchwood                     6               36
 75   2012       9    27   Minnesota               Minneapolis                   6               36
 76   2019       8    31   Texas                   Midland-Odessa                7               36
 77   2009      11    29   Washington              Parkland                      4               37
 78   2010       6     6   Florida                 Hialeah                       4               38
 79   2018       6    28   Maryland                Annapolis                     5               38
 80   1985       3    16   Pennsylvania            South Connellsville           4               39
 81   1988       2    16   California              Sunnyvale                     7               39
 82   2009      11     5   Texas                   Fort Hood                    13               39
 83   1988       9    22   Illinois                Chicago                       4               40
 84   1999      11     2   Hawaii                  Honolulu                      7               40
 85   2012       5    30   Washington              Seattle                       5               40
 86   2012       8     5   Wisconsin               Oak Creek                     6               40
 87   2019       5    31   Virginia                Virginia Beach               12               40
 88   2023       7     3   Pennsylvania            Philadelphia                  5               40
 89   2023       7    15   Georgia                 Hampton                       4               40
 90   2023      10    25   Maine                   Lewiston                     18               40
 91   1996       2     9   Florida                 Fort Lauderdale               5               41
 92   1997      12    18   California              Orange                        4               41
 93   2009       4     3   New York                Binghamton                   13               41
 94   2011      10    12   California              Seal Beach                    8               41
 95   1990       6    18   Florida                 Jacksonville                  9               42
 96   1995       7    19   California              Los Angeles                   4               42
 97   2000      12    26   Massachusetts           Wakefield                     7               42
 98   2001       7     3   Colorado                Rifle                         4               42
 99   2013       7    26   Florida                 Hialeah                       6               42
100   1992      11     8   California              Paso Robles                   6               43
101   1997       9    15   South Carolina          Aiken                         4               43
102   2012       4     2   California              Oakland                       7               43
103   1986       8    20   Oklahoma                Edmond                       14               44
104   1999       7    29   Georgia                 Atlanta                       9               44
105   2005       3    12   Wisconsin               Brookfield                    7               44
106   2006       1    30   California              Goleta                        7               44
107   2014       2    20   California              Alturas                       4               44




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       Year   Month   Day            State                City         Deaths     Age of Shooter
 108   2017      11    14   California        Rancho Tehama                 5                 44
 109   2021       3    31   California        Orange                        4                 44
 110   2024       6    21   Arkansas          Fordyce                       4                 44
 111   1991      11     9   Kentucky          Harrodsburg                   4                 45
 112   2009       3    29   North Carolina    Carthage                      8                 45
 113   2016       2    20   Michigan          Kalamazoo                     6                 45
 114   2017       3    22   Wisconsin         Rothschild                    4                 45
 115   2017       6     5   Florida           Orlando                       5                 45
 116   2019       2    15   Illinois          Aurora                        5                 45
 117   2022       6     1   Oklahoma          Tulsa                         4                 45
 118   2018      10    27   Pennsylvania      Pittsburgh                   11                 46
 119   1989       9    14   Kentucky          Louisville                    8                 47
 120   1999       9    15   Texas             Fort Worth                    7                 47
 121   2010       9    11   Kentucky          Jackson                       5                 47
 122   2019      12    10   New Jersey        Jersey City                   2                 47
 123   2021      12    27   Colorado          Denver                        5                 47
 124   2003       7     8   Mississippi       Meridian                      6                 48
 125   1992      10    15   New York          Watkins Glen                  4                 50
 126   2019      12    10   New Jersey        Jersey City                   2                 50
 127   2011       8     7   Ohio              Akron                         7                 51
 128   2020       2    26   Wisconsin         Milwaukee                     5                 51
 129   2008       2     7   Missouri          Kirkwood                      6                 52
 130   2003      10    24   Idaho             Oldtown                       4                 53
 131   2001       1     9   Texas             Houston                       4                 54
 132   2002       3    22   Indiana           South Bend                    4                 54
 133   2005       8    28   Texas             Honey Grove                   4                 54
 134   2018       9    12   California        Bakersfield                   5                 54
 135   1993       7     1   California        San Francisco                 8                 55
 136   2021       5    26   California        San Jose                      9                 57
 137   1997      12     3   Florida           Bartow                        4                 59
 138   1987       4    23   Florida           Palm Bay                      6                 60
 139   1997       8    19   New Hampshire     Colebrook                     4                 62
 140   2013       3    13   New York          Herkimer                      4                 64
 141   2017      10     1   Nevada            Las Vegas                    60                 64
 142   2001       2     5   Illinois          Melrose Park                  4                 66
 143   2023       1    23   California        Half Moon Bay                 7                 66
 144   2023       1    21   California        Monterey Park                11                 72
                                              Total Deaths              1,012
                                              Average Deaths Per
                                              Incident                      7.0


Source: The Violence Project, https://www.theviolenceproject.org/databases.
Revisions were made to The Violence Project’s data set to correct erroneous dates,
locations, and death tolls. One incident in the data set—the 2014 Isla Vista,
California, shooting, which resulted in a total of three victims shot to death—is
excluded because it did not involve a minimum of four victims shot to death, which
is a defining criterion of mass public shootings. In attributing deaths to each
perpetrator, deaths were equally divided between the perpetrators in the five
incidents that involved two shooters (Jonesboro 1998, Columbine 1999, San
Bernadino 2015, Kansas City 2019, and Jersey City 2019).


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Table 4. Share of Mass Public Shooting Perpetrators and Deaths Attributable
to Mass Public Shooting Perpetrators, Sorted by Age Groups and Compared
             to Share of Population for Age Groups, 1985–2024

                                                   Percentage                               Percentage
              Share of U.S.    Share of Mass       Differential       Share of Mass         Differential
                Population    Public Shooting   Given Share of       Public Shooting     Given Share of
               (1990-2020)      Perpetrators       Population                Deaths         Population
11-17                 9.6%              5.9%              -38%                 4.3%                -55%
18-20                 4.3%              8.9%            +107%                 11.2%              +160%
21-72                64.1%             85.2%             +33%                 84.5%               +32%


Source: Data on mass public shooting perpetrators, incidents, and deaths are drawn
from Table 3. Data on U.S. population are drawn from U.S. Census Bureau,
Population and Housing Unit Estimates, https://www.census.gov/programs-
surveys/popest.html. The age parameters for the two comparator groups were
determined by the youngest and oldest mass public shooter in The Violence Project
data set (1985-2024), respectively, 11 and 72 years of age. People under age 11 and
over age 72 are excluded from the share of U.S. population percentages. Minus signs
( - ) represent a percentage decrease. Plus signs ( + ) represent a percentage increase.


IV.     18-20-Year-Old Mass Public Shooters Tend To Use Guns That Are
        Legally Owned by the Shooters or Their Family Members and
        Acquaintances

        16.     The 18-20 age demographic perpetrates mass public shootings at a rate
that is disproportionately larger than the rates associated with the 11-17-year-old and
21-72-year-old comparator groups. As shown in Table 5 below, of the 15 individuals
aged 18-20 who perpetrated a mass public shooting in the last 40 years, we know for
certain that only two of these gunmen purchased a firearm used in their attacks in
violation of age-based purchasing restrictions. In both instances, the transactions
involved handguns purchased when they were 17 years old.13 However, by the time

        13
         In both incidents—the 1999 Columbine high school massacre in Colorado
and the 2007 Trolley Square Mall rampage in Utah—the law failed to prevent the
illegal purchases, but it did allow authorities to prosecute the individuals who sold
the firearms in violation of state law. See Julie Cart, Man Pleads Guilty to Selling
                                                                        (continued…)


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of their attacks, both gunmen were 18-years-of-age and were no longer prohibited
from possessing handguns under state law.14 Moreover, both of these shooters also
used shotguns in their attacks, which they legally possessed. For three other shooters,
it is unclear how they acquired their firearms. The remaining 10 mass public shooters
aged 18-20 legally purchased their firearms, took their firearms from home, or
borrowed them. Since 1985, there are no confirmed examples of a mass public


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Mall Shootings Handgun Going to Prison, KSL, May 22, 2008,
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       14
          To provide more specific details on these two instances, Columbine High
School shooter Eric Harris (Columbine, CO) purchased an assault pistol and Trolley
Square Mall shooter Sulejman Talovic (Salt Lake City, UT) purchased a revolver in
private transactions (i.e., not involving a federally-licensed firearms dealer) when
they were 17 years of age. At the time, both Colorado and Utah restricted the sale of
handguns to individuals under the age of 18, making the sale of each handgun illegal
under state law. However, neither Colorado nor Utah restricted private sales of
handguns to individuals 18 years of age or older at the time these transfers occurred.
Prior to 2023, so long as an individual in Colorado or Utah was 18 years of age or
older, they could legally acquire a handgun in a private transaction. See Colo. Rev.
Stat. § 18-12-108.7(1); Utah Code Ann. § 76-10-509.9. In 2023, Colorado raised the
legal age of purchasing a handgun to 21 or older. Colo. Rev. Stat. § 18-12-112(2)(e),
(f); 18-12-112.5(a.3) (eff. 2023). Utah law remains the same as it was in 2007 when
Talovic acquired his handgun, maintaining a minimum purchase age of 18.
However, under federal law at the time and currently, individuals are prohibited from
purchasing a handgun from a federally-licensed firearms dealer until they reach 21
years of age. 18 U.S.C. § 922(b)(1).


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shooter, aged 18-20 at the time that they acquired their firearms, purchasing said
firearms in violation of state age restrictions.15 That mass public shooters of this age
demographic generally do not purchase their firearms in violation of age restrictions
on 18-20-year-olds is prima facie evidence that they do not, by and large, resort to
underground markets to acquire weapons. In turn, it appears that age-based purchase
laws have the potential to effectively restrict access to specific firearms for those
within the covered age range in the numerous jurisdictions where they are in force.
       17.     All of the above suggest that firearm purchasing restrictions on 18-20-
year-olds have the potential to reduce mass shooting violence.

               Table 5. Mass Public Shooters Aged 18-20, 1985–2024
                                        Age of
            Date   Location             Shooter   How Guns Were Acquired
  1     5/1/1992   Olivehurst, CA         20      Legally Purchased
  2   10/14/1993   El Cajon, CA           19      Unknown
  2   12/14/1993   Aurora, CO             19      Unknown
  4    6/20/1994   Fairchild AFB, WA      20      Legally Purchased
  5   12/31/1994   Raeford, NC            18      Loaned to Shooter
  6    4/20/1999   Columbine, CO          18      3 Legally Purchased / 1 Illegally Purchased
  7     9/8/2001   Sacramento, CA         20      Unknown
  8    2/12/2007   Salt Lake City, UT     18      1 Legally Purchased / 1 Illegally Purchased
  9    12/5/2007   Omaha, NE              19      Taken from Home
 10   12/14/2012   Newtown, CT            20      Taken from Home
 11    9/23/2016   Burlington, WA         20      Taken from Home
 12    2/14/2018   Parkland, FL           19      Legally Purchased
 13    4/15/2021   Indianapolis, IN       19      Legally Purchased
 14    5/14/2022   Buffalo, NY            18      Legally Purchased
 15    5/24/2022   Uvalde, TX             18      Legally Purchased

Source: The Violence Project, https://www.theviolenceproject.org/databases.
       15
         As noted above, it is unknown how 3 of the 15 mass public shooters aged
18-20 at the time of their attacks acquired their firearms. It is possible that one or
even all of these three gunmen obtained their firearms through an illegal transaction
when they were between the ages of 18 to 20. However, it is equally plausible that
none of them acquired their firearms through an illegal transaction when they were
between the ages of 18 to 20. The bottom line is that we do not know how these 3
gunmen obtained their firearms. As such, there is no known instance of an 18-to-20-
year-old mass public shooter obtaining their firearms through an illegal transaction
since 1985.


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     I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct.
     Executed on December 23, 2024, at Nassau County, New York.




                                                  Louis Klarevas




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      EXHIBIT A
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B.A.   Political Science, Cum Laude, 1989
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       University of Pennsylvania
       Philadelphia, PA


Author

Rampage Nation: Securing America from Mass Shootings


Current Positions

Research Professor, Teachers College, Columbia University, New York, NY, 2018-Present

Faculty Affiliate, Media and Social Change Lab (MASCLab), Teachers College, Columbia
University, New York, NY, 2019-Present


Professional Experience

Academic Experience (Presented in Academic Years)

Associate Lecturer, Department of Global Affairs, University of Massachusetts – Boston,
Boston, MA, 2015-2020

Senior Fulbright Scholar (Security Studies), Department of European and International Studies,
University of Macedonia, Thessaloniki, Greece, 2011-2012

Founder and Coordinator, Graduate Transnational Security Program, Center for Global Affairs,
New York University, New York, NY, 2009-2011

Faculty Affiliate, A. S. Onassis Program in Hellenic Studies, New York University, New York,
NY, 2007-2011

Clinical Faculty, Center for Global Affairs, New York University, New York, NY, 2006-2011

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Adjunct Professor, Center for Global Affairs, New York University, New York, NY, 2004-2006

Assistant Professor of Political Science, City University of New York – College of Staten Island,
Staten Island, NY, 2003-2006

Associate Fellow, European Institute, London School of Economics and Political Science,
London, England, UK, 2003-2004

Defense Analysis Research Fellow, London School of Economics and Political Science, London,
England, UK, 2002-2004

Visiting Assistant Professor of Political Science and International Affairs, George Washington
University, Washington, DC, 1999-2002

Adjunct Professor of Political Science, George Washington University, Washington, DC, 1998-
1999

Adjunct Professor of International Relations, School of International Service, American
University, Washington, DC, 1994-1995

Dean’s Scholar, School of International Service, American University, Washington, DC, 1989-
1992

Professional Experience (Presented in Calendar Years)

Consultant, National Joint Terrorism Task Force, Federal Bureau of Investigation, Washington,
DC, 2015

Writer, Prometheus Books, Amherst, NY, 2012-2015

Consultant, United States Institute of Peace, Washington, DC, 2005, 2008-2009

Research Associate, United States Institute of Peace, Washington, DC, 1992-1998

Faculty Advisor, National Youth Leadership Forum, Washington, DC, 1992




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Courses Taught

 Graduate                                              Undergraduate
 Counter-Terrorism and Homeland Security               American Government and Politics
 International Political Economy                       European-Atlantic Relations
 International Politics in a Post-Cold War Era         International Political Economy
 International Security                                International Relations
 Machinery and Politics of American Foreign Policy     Transnational Terrorism
 Role of the United States in World Affairs            United States Foreign Policy
 Security Policy
 Theories of International Politics
 Transnational Security
 Transnational Terrorism
 United States Foreign Policy


Scholarship

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“Bombing on the Analysis of the Times Square Bomb Plot,” May 5, 2010

“Do the Hutaree Militia Members Pose a Terrorist Threat?” May 4, 2010

“Addressing Mexico’s Gun Violence One Extradition at a Time,” March 29, 2010

“Terrorism in Texas: Why the Austin Plane Crash Is an Act of Terror,” February 19, 2010

“Securing American Primacy by Tackling Climate Change: Toward a National Strategy of
Greengemony,” December 15, 2009

“Traffickers Without Borders: A ‘Journey’ into the Life of a Child Victimized by Sex
Trafficking,” November 17, 2009

“Beyond a Lingering Doubt: It’s Time for a New Standard on Capital Punishment,” November 9,
2009

“It’s the Guns Stupid: Why Handguns Remain One of the Biggest Threats to Homeland
Security,” November 7, 2009

“Obama Wins the 2009 Nobel Promise Prize,” October 9, 2009


Commentaries for Foreign Policy – www.foreignpolicy.com

“The White House’s Benghazi Problem,” September 20, 2012

“Greeks Don’t Want a Grexit,” June 14, 2012

“The Earthquake in Greece,” May 7, 2012

“The Idiot Jihadist Next Door,” December 1, 2011

“Locked Up Abroad,” October 4, 2011




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Commentaries for The New Republic – www.tnr.com/users/louis-klarevas

“What the U.N. Can Do To Stop Getting Attacked by Terrorists,” September 2, 2011

“Is It Completely Nuts That the British Police Don’t Carry Guns? Maybe Not,” August 13, 2011

“How Obama Could Have Stayed the Execution of Humberto Leal Garcia,” July 13, 2011

“After Osama bin Laden: Will His Death Hasten Al Qaeda’s Demise?” May 2, 2011

“Libya’s Stranger Soldiers: How To Go After Qaddafi’s Mercenaries,” February 28, 2011

“Closing the Gap: How To Reform U.S. Gun Laws To Prevent Another Tucson,” January 13,
2011

“Easy Target,” June 13, 2010

“Death Be Not Proud,” October 27, 2003 (correspondence)


Legal Analyses Written for Writ – writ.news.findlaw.com/contributors.html#klarevas

“Human Trafficking and the Child Protection Compact Act of 2009,” Writ (FindLaw.com), July
15, 2009 (co-authored with Christine Buckley)

“Can the Justice Department Prosecute Reporters Who Publish Leaked Classified Information?
Interpreting the Espionage Act,” Writ (FindLaw.com), June 9, 2006

“Will the Precedent Set by the Indictment in a Pentagon Leak Case Spell Trouble for Those Who
Leaked Valerie Plame's Identity to the Press?” Writ (FindLaw.com), August 15, 2005

“Jailing Judith Miller: Why the Media Shouldn’t Be So Quick to Defend Her, and Why a
Number of These Defenses Are Troubling,” Writ (FindLaw.com), July 8, 2005

“The Supreme Court Dismisses the Controversial Consular Rights Case: A Blessing in Disguise
for International Law Advocates?” Writ (FindLaw.com), June 6, 2005 (co-authored with Howard
S. Schiffman)

“The Decision Dismissing the Lawsuit against Vice President Dick Cheney,” Writ
(FindLaw.com), May 17, 2005

“The Supreme Court Considers the Rights of Foreign Citizens Arrested in the United States,”
Writ (FindLaw.com), March 21, 2005 (co-authored with Howard S. Schiffman)




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Presentations and Addresses

In addition to the presentations listed below, I have made close to one hundred media
appearances, book events, and educational presentations (beyond lectures for my own
classes)

“Mass Shootings: What We Know, What We Don’t Know, and Why It All Matters,” keynote
presentation to be delivered at the Columbia University Center for Injury Science and Prevention
Annual Symposium, virtual meeting, May 2020

“K-12 School Environmental Responses to Gun Violence: Gaps in the Evidence,” paper
presented at Society for Advancement of Violence and Injury Research Annual Meeting, virtual
meeting, April 2020 (co-authored with Sonali Rajan, Joseph Erardi, Justin Heinze, and Charles
Branas)

“Active School Shootings,” Post-Performance Talkback following Presentation of 17 Minutes,
Barrow Theater, New York, January 29, 2020 (co-delivered with Sonali Rajan)

“Addressing Mass Shootings in Public Health: Lessons from Security Studies,” Teachers
College, Columbia University, November 25, 2019

“Rampage Nation: Securing America from Mass Shootings,” Swarthmore College, October 24,
2019

“Rampage Nation: Securing America from Mass Shootings,” University of Pennsylvania,
February 9, 2018

“Treating Mass Shootings for What They Really Are: Threats to American Security,”
Framingham State University, October 26, 2017

“Book Talk: Rampage Nation,” Teachers College, Columbia University, October 17, 2017

Participant, Roundtable on Assault Weapons and Large-Capacity Magazines, Annual Conference
on Second Amendment Litigation and Jurisprudence, Law Center to Prevent Gun Violence,
October 16, 2017

“Protecting the Homeland: Tracking Patterns and Trends in Domestic Terrorism,” address
delivered to the annual meeting of the National Joint Terrorism Task Force, June 2015

“Sovereign Accountability: Creating a Better World by Going after Bad Political Leaders,”
address delivered to the Daniel H. Inouye Asia-Pacific Center for Security Studies, November
2013

“Game Theory and Political Theater,” address delivered at the School of Drama, State Theater of
Northern Greece, May 2012




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“Holding Heads of State Accountable for Gross Human Rights Abuses and Acts of Aggression,”
presentation delivered at the Michael and Kitty Dukakis Center for Public and Humanitarian
Service, American College of Thessaloniki, May 2012

Chairperson, Cultural Enrichment Seminar, Fulbright Foundation – Southern Europe, April 2012

Participant, Roundtable on “Did the Intertubes Topple Hosni?” Zócalo Public Square, February
2011

Chairperson, Panel on Democracy and Terrorism, annual meeting of the International Security
Studies Section of the International Studies Association, October 2010

“Trends in Terrorism Within the American Homeland Since 9/11,” paper to be presented at the
annual meeting of the International Security Studies Section of the International Studies
Association, October 2010

Panelist, “In and Of the World,” Panel on Global Affairs in the 21st Century, Center for Global
Affairs, New York University, March 2010

Moderator, “Primacy, Perils, and Players: What Does the Future Hold for American Security?”
Panel of Faculty Symposium on Global Challenges Facing the Obama Administration, Center for
Global Affairs, New York University, March 2009

“Europe’s Broken Border: The Problem of Illegal Immigration, Smuggling and Trafficking via
Greece and the Implications for Western Security,” presentation delivered at the Center for
Global Affairs, New York University, February 2009

“The Dangers of Democratization: Implications for Southeast Europe,” address delivered at the
University of Athens, Athens, Greece, May 2008

Participant, “U.S. National Intelligence: The Iran National Intelligence Estimate,” Council on
Foreign Relations, New York, April 2008

Moderator, First Friday Lunch Series, “Intelligence in the Post-9/11 World: An Off-the-Record
Conversation with Dr. Joseph Helman (U.S. Senior National Intelligence Service),” Center for
Global Affairs, New York University, March 2008

Participant, “U.S. National Intelligence: Progress and Challenges,” Council on Foreign
Relations, New York, March 2008

Moderator, First Friday Lunch Series, “Public Diplomacy: The Steel Backbone of America’s
Soft Power: An Off-the-Record Conversation with Dr. Judith Baroody (U.S. Department of
State),” Center for Global Affairs, New York University, October 2007

“The Problems and Challenges of Democratization: Implications for Latin America,”
presentation delivered at the Argentinean Center for the Study of Strategic and International



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Relations Third Conference on the International Relations of South America (IBERAM III),
Buenos Aires, Argentina, September 2007

“The Importance of Higher Education to the Hellenic-American Community,” keynote address
to the annual Pan-Icarian Youth Convention, New York, May 2007

Moderator, First Friday Lunch Series, Panel Spotlighting Graduate Theses and Capstone
Projects, Center for Global Affairs, New York University, April 2007

Convener, U.S. Department of State Foreign Officials Delegation Working Group on the Kurds
and Turkey, March 2007

“Soft Power and International Law in a Globalizing Latin America,” round-table presentation
delivered at the Argentinean Center for the Study of Strategic and International Relations
Twelfth Conference of Students and Graduates of International Relations in the Southern Cone
(CONOSUR XII), Buenos Aires, Argentina, November 2006

Moderator, First Friday Lunch Series, “From Berkeley to Baghdad to the Beltway: An Off-the-
Record Conversation with Dr. Catherine Dale (U.S. Department of Defense),” Center for Global
Affairs, New York University, November 2006

Chairperson, Roundtable on Presidential Privilege and Power Reconsidered in a Post-9/11 Era,
American Political Science Association Annual Meeting, September 2006

“Constitutional Controversies,” round-table presentation delivered at City University of New
York-College of Staten Island, September 2005

“The Future of the Cyprus Conflict,” address to be delivered at City University of New York
College of Staten Island, April 2005

“The 2004 Election and the Future of American Foreign Policy,” address delivered at City
University of New York College of Staten Island, December 2004

“One Culprit for the 9/11 Attacks: Political Realism,” address delivered at City University of
New York-College of Staten Island, September 2004

“Were the Eagle and the Phoenix Birds of a Feather? The United States and the 1967 Greek
Coup,” address delivered at London School of Economics, November 2003

“Beware of Europeans Bearing Gifts? Cypriot Accession to the EU and the Prospects for Peace,”
address delivered at Conference on Mediterranean Stability, Security, and Cooperation, Austrian
Defense Ministry, Vienna, Austria, October 2003

Co-Chair, Panel on Ideational and Strategic Aspects of Greek International Relations, London
School of Economics Symposium on Modern Greece, London, June 2003




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“Greece between Old and New Europe,” address delivered at London School of Economics, June
2003

Co-Chair, Panel on International Regimes and Genocide, International Association of Genocide
Scholars Annual Meeting, Galway, Ireland, June 2003

“American Cooperation with International Tribunals,” paper presented at the International
Association of Genocide Scholars Annual Meeting, Galway, Ireland, June 2003

“Is the Unipolar Moment Fading?” address delivered at London School of Economics, May 2003

“Cyprus, Turkey, and the European Union,” address delivered at London School of Economics,
February 2003

“Bridging the Greek-Turkish Divide,” address delivered at Northwestern University, May 1998

“The CNN Effect: Fact or Fiction?” address delivered at Catholic University, April 1998

“The Current Political Situation in Cyprus,” address delivered at AMIDEAST, July 1997

“Making the Peace Happen in Cyprus,” presentation delivered at the U.S. Institute of Peace in
July 1997

“The CNN Effect: The Impact of the Media during Diplomatic Crises and Complex
Emergencies,” a series of presentations delivered in Cyprus (including at Ledra Palace), May
1997

“Are Policy-Makers Misreading the Public? American Public Opinion on the United Nations,”
paper presented at the International Studies Association Annual Meeting, Toronto, Canada,
March 1997 (with Shoon Murray)

“The Political and Diplomatic Consequences of Greece’s Recent National Elections,”
presentation delivered at the National Foreign Affairs Training Center, Arlington, VA,
September 1996

“Prospects for Greek-Turkish Reconciliation,” presentation delivered at the U.S. Institute of
Peace Conference on Greek-Turkish Relations, Washington, D.C., June, 1996 (with Theodore A.
Couloumbis)

“Greek-Turkish Reconciliation,” paper presented at the Karamanlis Foundation and Fletcher
School of Diplomacy Joint Conference on The Greek-U.S. Relationship and the Future of
Southeastern Europe, Washington, D.C., May, 1996 (with Theodore A. Couloumbis)

“The Path toward Peace in the Eastern Mediterranean and the Balkans in the Post-Cold War
Era,” paper presented at the International Studies Association Annual Meeting, San Diego, CA,
March, 1996 (with Theodore A. Couloumbis)



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“Peace Operations: The View from the Public,” paper presented at the International Studies
Association Annual Meeting, San Diego, CA, March, 1996

Chairperson, Roundtable on Peace Operations, International Security Section of the International
Studies Association Annual Meeting, Rosslyn, VA, October, 1995

“Chaos and Complexity in International Politics: Epistemological Implications,” paper presented
at the International Studies Association Annual Meeting, Washington, D.C., March, 1994

“At What Cost? American Mass Public Opinion and the Use of Force Abroad,” paper presented
at the International Studies Association Annual Meeting, Washington, D.C., March, 1994 (with
Daniel B. O'Connor)

“American Mass Public Opinion and the Use of Force Abroad,” presentation delivered at the
United States Institute of Peace, Washington, D.C., February, 1994 (with Daniel B. O'Connor)

“For a Good Cause: American Mass Public Opinion and the Use of Force Abroad,” paper
presented at the Annual Meeting of the Foreign Policy Analysis/Midwest Section of the
International Studies Association, Chicago, IL, October, 1993 (with Daniel B. O’Connor)

“American International Narcotics Control Policy: A Critical Evaluation,” presentation delivered
at the American University Drug Policy Forum, Washington, D.C., November, 1991

“American National Security in the Post-Cold War Era: Social Defense, the War on Drugs, and
the Department of Justice,” paper presented at the Association of Professional Schools of
International Affairs Conference, Denver, CO, February, 1991


Referee for Grant Organizations, Peer-Reviewed Journals, and Book Publishers

National Science Foundation, Division of Social and Economic Sciences

American Journal of Preventive Medicine

American Journal of Public Health

American Political Science Review

British Medical Journal (BMJ)

Comparative Political Studies

Injury Epidemiology

Journal of Public and International Affairs

Millennium


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Political Behavior

Presidential Studies Quarterly

Victims & Offenders

Violence and Victims

Brill Publishers

Johns Hopkins University Press

Routledge


Service to University, Profession, and Community

Participant, Annual Meeting of the Research Society for the Prevention of Firearm-Related
Harms, 2023

Participant, Minnesota Chiefs of Police Association, Survey of Measures to Reduce Gun
Violence, 2023

Member, Regional Gun Violence Research Consortium, Nelson A. Rockefeller Institute of
Government, State University of New York, 2022-

Founding Member, Scientific Union for the Reduction of Gun Violence (SURGE), Columbia
University, 2019-

Contributing Lecturer, Johns Hopkins University, Massive Open Online Course on Evidence-
Based Gun Violence Research, Funded by David and Lucile Packard Foundation, 2019

Member, Group of Gun Violence Experts, New York Times Upshot Survey, 2017

Member, Guns on Campus Assessment Group, Johns Hopkins University and Association of
American Universities, 2016

Member, Fulbright Selection Committee, Fulbright Foundation, Athens, Greece, 2012

Faculty Advisor, Global Affairs Graduate Society, New York University, 2009-2011

Founder and Coordinator, Graduate Transnational Security Studies, Center for Global Affairs,
New York University, 2009-2011

Organizer, Annual Faculty Symposium, Center for Global Affairs, New York University, 2009



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Member, Faculty Search Committees, Center for Global Affairs, New York University, 2007-
2009

Member, Graduate Program Director Search Committee, Center for Global Affairs, New York
University, 2008-2009

Developer, Transnational Security Studies, Center for Global Affairs, New York University,
2007-2009

Participant, Council on Foreign Relations Special Series on National Intelligence, New York,
2008

Member, Graduate Certificate Curriculum Committee, Center for Global Affairs, New York
University, 2008

Member, Faculty Affairs Committee, New York University, 2006-2008

Member, Curriculum Review Committee, Center for Global Affairs, New York University,
2006-2008

Member, Overseas Study Committee, Center for Global Affairs, New York University, 2006-
2007

Participant, New York Academic Delegation to Israel, Sponsored by American-Israel Friendship
League, 2006

Member, Science, Letters, and Society Curriculum Committee, City University of New York-
College of Staten Island, 2006

Member, Graduate Studies Committee, City University of New York-College of Staten Island,
2005-2006

Member, Summer Research Grant Selection Committee, City University of New York-College
of Staten Island, 2005

Director, College of Staten Island Association, 2004-2005

Member of Investment Committee, College of Staten Island Association, 2004-2005

Member of Insurance Committee, College of Staten Island Association, 2004-2005

Member, International Studies Advisory Committee, City University of New York-College of
Staten Island, 2004-2006

Faculty Advisor, Pi Sigma Alpha National Political Science Honor Society, City University of
New York-College of Staten Island, 2004-2006



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Participant, World on Wednesday Seminar Series, City University of New York-College of
Staten Island, 2004-2005

Participant, American Democracy Project, City University of New York-College of Staten
Island, 2004

Participant, Philosophy Forum, City University of New York-College of Staten Island, 2004

Commencement Liaison, City University of New York-College of Staten Island, 2004

Member of Scholarship Committee, Foundation of Pan-Icarian Brotherhood, 2003-2005, 2009

Scholarship Chairman, Foundation of Pan-Icarian Brotherhood, 2001-2003

Faculty Advisor to the Kosmos Hellenic Society, George Washington University, 2001-2002

Member of University of Pennsylvania’s Alumni Application Screening Committee, 2000-2002

Participant in U.S. Department of State’s International Speakers Program, 1997

Participant in Yale University’s United Nations Project, 1996-1997

Member of Editorial Advisory Board, Journal of Public and International Affairs, Woodrow
Wilson School of Public and International Affairs, Princeton University, 1991-1993

Voting Graduate Student Member, School of International Service Rank and Tenure Committee,
American University, 1990-1992

Member of School of International Service Graduate Student Council, American University,
1990-1992

Teaching Assistant for the Several Courses (World Politics, Beyond Sovereignty, Between Peace
and War, Soviet-American Security Relations, and Organizational Theory) at School of
International Service Graduate Student Council, American University, 1989-1992

Representative for American University at the Annual Meeting of the Association of
Professional Schools of International Affairs, Denver, Colorado, 1991


Expert Witness Service

District of Columbia, 2024-

State of New York, 2024-

Town of Superior, Colorado, 2023-
City of Boulder, Colorado, 2023-


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City of Louisville, Colorado, 2023-

County of Boulder, Colorado, 2023-

State of Connecticut, 2023-

State of Hawaii, 2023-

State of Illinois, 2023-

State of Massachusetts, 2023-

State of New Jersey, 2023-

State of Oregon, 2023-
City of Highland Park, Illinois, 2022-

County of Cook, Illinois, 2022-

State of Washington, 2022-

Government of Canada, 2021-2022

Plaintiffs, Ward et al. v. Academy Sports + Outdoor, District Court Bexar County, Texas, 224th
Judicial District, Cause Number 2017CI23341, Bexar County, TX, 2019

State of California, 2017-

State of Colorado, 2016-2017, 2022-


Affiliations, Associations, and Organizations (Past and Present)

Academy of Political Science (APS)

American Political Science Association (APSA)

Anderson Society of American University

Carnegie Council Global Ethics Network

Columbia University Scientific Union for the Reduction of Gun Violence (SURGE)

Firearm Safety among Children and Teens (FACTS)

International Political Science Association (IPSA)

International Studies Association (ISA)


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New York Screenwriters Collective

Pan-Icarian Brotherhood

Pi Sigma Alpha

Regional Gun Violence Research Consortium

Research Society for the Prevention of Firearm-Related Harms

Society for Advancement of Violence and Injury Research (SAVIR)

United States Department of State Alumni Network

United States Institute of Peace Alumni Association

University of Pennsylvania Alumni Association


Grants, Honors, and Awards

Co-Investigator, A Nationwide Case-Control Study of Firearm Violence Prevention Tactics and
Policies in K-12 School, National Institutes of Health, 2021-2024 (Branas and Rajan MPIs)

Senior Fulbright Fellowship, 2012

Professional Staff Congress Research Grantee, City University of New York, 2004-2005

Research Assistance Award (Two Times), City University of New York-College of Staten
Island, 2004

Summer Research Fellowship, City University of New York-College of Staten Island, 2004

European Institute Associate Fellowship, London School of Economics, 2003-2004

Hellenic Observatory Defense Analysis Research Fellowship, London School of Economics,
2002-2003

United States Institute of Peace Certificate of Meritorious Service, 1996

National Science Foundation Dissertation Research Grant, 1995 (declined)

Alexander George Award for Best Graduate Student Paper, Runner-Up, Foreign Policy Analysis
Section, International Studies Association, 1994

Dean’s Scholar Fellowship, School of International Service, American University, 1989-1992


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Graduate Research and Teaching Assistantship, School of International Service, American
University, 1989-1992

American Hellenic Educational Progressive Association (AHEPA) College Scholarship, 1986

Political Science Student of the Year, Wilkes-Barre Area School District, 1986




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